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                         EXHIBIT C
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KATHERINE A. TREFZ
   (202) 434-5038
   ktrefz@wc.com




                                             October 15, 2024

                        HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY

    Via Email

    Michael Baker, Esq.
    Amanda Butler, Esq.
    Colin Herd, Esq.
    Thomas Miller, Esq.
    Federal Trade Commission
    600 Pennsylvania Avenue, NW
    Washington, DC 20590
    mbaker1@ftc.gov
    abutler2@ftc.gov
    cherd@ftc.gov
    tmiller2@ftc.gov

             Re:     FTC v. Amazon.com, Inc., Case No. 2:23-cv-01495-JHC (W.D. Wash.)

     Dear Counsel:

           I write to follow up on the parties’ various correspondence regarding Amazon’s March
    25, 2024 Responses and Objections (“Objections”) to the Plaintiffs’ Second Set of Requests for
    Production (“Requests”) for Request Nos. 29-30, 32, 35, 37-39, 62, 68, 83, 88, 97, 100, 114-15,
    128, 135, 138, 155-56, 167-70, 185-90, 193-94, 197-200, 202-04, 209, 212, 214-16, 218, 221-25,
    231-32, 234-43, 245-51, 255, 257, 260, 263, 266, 271, 274, 276, 281, 284, 286-87, 289-92, 296
    and 299, and Amazon’s July 29, 2024 Responses and Objections to the Plaintiffs’ Fourth Set of
    Requests for Production (“Requests”) for Request Nos. 356-59, 361-63, 365-67, 369, 371-74,
    376-78, and 382-90.

             Request Nos. 29, 30, 291, & 292

            Request Nos. 29, 30, 291, and 292 generally seek economic analyses and reports
    regarding the allegations in Plaintiffs’ Complaint. In Plaintiffs’ September 6 letter, Plaintiffs
    assert that in order to move forward in custodial negotiations and negotiations over these
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Michael Baker, Esq., Amanda Butler, Esq., Colin Herd, Esq., & Thomas Miller, Esq.
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dozen requests is more than proportional to an agreement by Plaintiffs’ to withdraw two of their
own.

       Request No. 389

        Request No. 389 seeks “[a]ll Documents concerning any requests made by Amazon
under the Freedom of Information Act, 5 U.S.C. § 552, or any analogous public records law in
any state, in connection with, in the course of, or regarding Plaintiffs’ pre-Complaint
investigation, the allegations in the Amended Complaint, this Action, People of the State of
California v. Amazon.com, Inc., No. CGC-22-601826 (Cal. Super. Ct.), District of Columbia v.
Amazon.com, Inc., No., 2021 CA 001775 B (D.C. Super. Ct.), Arizona ex rel. Mayes v.
Amazon.com, Inc., No. CV2024-011990 (Ariz. Super. Ct.), or any Related Cases.”

       Amazon has identified a request
                                         Amazon agrees to produce the documents received in
response to that request. Please let Amazon know if Plaintiffs have any outstanding requests that
should be addressed through a meet and confer.


                                         *      *      *

       Amazon is available to meet and confer as necessary to discuss the issues outlined above.

                                                     Sincerely,




                                                     Katie Trefz




cc:      Susan A. Musser, Edward H. Takashima, Daniel A. Principato, FTC
         Michael Jo, New York State Office of the Attorney General
         Timothy D. Smith, Oregon Department of Justice
         Molly A. Terwilliger, Morgan, Lewis & Bockius LLP
         Robert Keeling, Sidley Austin LLP
